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       SEMERARO & FAHRNEY, LLC
       R. Scott Fahrney, Esq. │SBN # 017182008
       155 Route 46, Suite 108
       Wayne, New Jersey 07470
       TEL. (973) 988-5070
       Email sfahrney@semerarolaw.com
       Attorneys for Defendants
                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY


        DAVID J. LORENZO,                                  Hon. Claire C. Cecchi, U.S.D.J.
                        Plaintiff                          Hon. José R. Almonte, U.S.M.J.
        vs.

        THE BOROUGH OF PALISADES                           Civ. No.: 2:23-CV-21849-CCC-JRA
        PARK, NEW JERSEY; CHONG                                           A Civil Action
        PAUL KIM (individually and in his
        official capacity as Mayor of the                     CERTIFICATION OF COUNSEL IN
        Borough of Palisades Park, New                       SUPPORT OF MOTION TO DISMISS
        Jersey); and SUK “JOHN” MIN
        (Individually and in his official
        capacity as a member of the Borough
        Council of Palisades Park, New Jersey)
                               Defendants.


       I, R. Scott Fahrney, Esq., being of full age, herby certifies as follows:

          1. I am an Attorney at Law of the State of New Jersey, licensed to practice before this Court,

              and am a Partner of the Law Firm of Semeraro & Fahrney, LLC.

          2. As the attorney assigned to this matter, I make this Certification with personal knowledge

              and in support of the Defendant’s Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6).

          3. Attached hereto as Exhibit 1, is a true and complete copy of the Plaintiff’s Complaint

              publicly filed under Docket No.: BER-L-6632-23.

          4. Attached hereto as Exhibit 2 is a true and complete copy of the Borough of Palisades Park’s

              Opposition to the Plaintiff’s Verified Complaint and Order to Show Cause, publicly filed

              under Docket No.: BER-L-6632-23.
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          5. Attached hereto as Exhibit 3 is a true and complete copy of Plaintiff’s Verified Complaint

              and Order to Show Cause, publicly filed under Docket No.: BER-L-6632-23.

          I certify that the statements in this certification are true and correct to the best of my knowledge.

       I am aware that if anything herein is willfully false, I am subject to punishment.

                                                              Semeraro & Fahrney, LLC
                                                              Attorneys for Defendants


                                                              By:
       Dated: January 16, 2024                                        R. Scott Fahrney, Esq.,




                                                         2

                                                                                                       #3283112
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THE LAW OFFICES OF RICHARD MALAGIERE
A Professional Corporation
250 Moonachie Road, Suite 300A
Moonachie, New Jersey 07074
(201) 440-0675
Richard Malagiere Attorney ID: (037951996)
Leonard E. Seaman Attorney ID: (035021990)
Giancarlo Ghione Attorney ID: (294482020)
Attorneys for Plaintiff
 DAVID LORENZO                             SUPERIOR COURT OF NEW JERSEY
                                           LAW DIVISION: BERGEN COUNTY
                        PLAINTIFF,
                                           DOCKET NO.: BER-L-
  V.
                                                   CIVIL ACTION

 BOROUGH OF PALISADES PARK;                           VERIFIED COMPLAINT
 MAYOR AND COUNCILOF
 PALISADES PARK

                       DEFENDANTS.

       Plaintiff David Lorenzo by way of verified complaint against Defendants Borough of

Palisades Park, and Mayor and Council of Palisades Park (collectively “Defendants”) says:

                                         THE PARTIES

       1.     Plaintiff David Lorenzo is a resident of Palisades Park. Lorenzo is the Borough

Administrator of Palisades Park.

       2.     Defendant Borough of Palisades Park is a body politic and corporate of the State of

New Jersy and the governing body of the Borough of Palisades Park located in the County of Bergen.

       3.     The Defendant Mayor and Council of Palisades Park is the governing body of the

Borough of Palisades Park.

                                            VENUE

       4.     Venue is properly laid in Bergen County because the defendants are public bodies

located in Bergen County. R. 4:3-2(a).

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                                   FACTUAL ALLEGATIONS

       5.      On January 3, 2023 the defendant Borough of Palisades Park passed Resolution 2023-

9 setting the schedule of Mayor and Council meetings for the year of 2023. A true and accurate copy

of Resolution 2023-9 is attached hereto as Exhibit A.

       6.      The Record and Newark Star Ledger were named as the official newspapers for

Palisades Park at the February 27, 2023 mayor and council meeting. A true and accurate copy of the

relevant portions of Resolution 2023-1 is attached hereto as Exhibit D.

       7.      On November 2, 2023 defendant Borough of Palisades Park held a special council

meeting at 1:00 PM at which time it suspended and placed on administrative leave the Plaintiff –

Borough Administrator.

       8.      Plaintiff is the president of the Palisades Park Democratic Club. Plaintiff and the

Palisades Park Democratic Club ceased supporting members of defendant Palisades Park Mayor and

Council in the 2023 election cycle 1.

       9.      An election was held on Tuesday November 7, 2023 – five days after the November

2, 2023 special meeting.

       10.     On October 31, 2023, Plaintiff was provided with Rice notice via email. Upon

information and belief, the notice was prepared by Mayor Paul Kim. A true and accurate copy of the

email providing Plaintiff with Rice notice is attached hereto as Exhibit B.

       11.     On October 31, 2023 Plaintiff responded and waived his right to closed session and

asked that any matter related to his employment be discussed in open session. See Exhibit B.

       12.     The Rice notice provided to Plaintiff was dated October 30, 2023. A true and accurate



1
  https://www.nj.com/bergen/2023/11/town-official-suspended-after-ordering-candidates-name-
removed-from-campaign-signs-lawsuit-says.html (Last visited December 8, 2023)
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copy of the Rice notice is attached hereto as Exhibit C.

       13.     An agenda with no specific items of business relating to the November 2, 2023

special meeting was posted on the Borough’s website in advance of the special meeting.

       14.     The only item of business identified on the agenda posted on the Borough’s website

was “Resolution 2023-223 Authorization to Enter Executive Session.” See, Certification of Richard

Malagiere (“Malagiere Cert.”) Exhibit B.

       15.     A “revised” agenda was provided to Plaintiff’s counsel in response to an OPRA

request which is/was not posted online. See, Malagiere Cert. Exhibit C.

       16.     The revised agenda adds three “Off Consent Agenda”:

               i)     RESOLUTION 2023-224 Authorization to Place Employee
               on Administrative Leave (RE: D. Lorenzo)
               ii)    RESOLUTION 2023-225 Appointment of Police Director
               (RE: M. Gardner)
               iii)   RESOLUTION 2023-226 Appointment of Special Counsel
               (RE: Ruderman & Roth, LLC)
               [See, Malagiere Certif. Exhibit C]

       17.     Notice of the special meeting was published in The Record and Newark Star Ledger

on November 3, 2023 (one day after the special meeting). See, Malagiere Cert. Exhibit D; Ghione

Certif. Exhibit B.

       18.     Notices of public meetings published in The Record and Herald News are submitted

electronically to the newspaper through an online portal maintained by Gannett. See Certification of

Giancarlo Ghione (“Ghione Cert.”) ¶4.

       19.     NJ Advance Media provides an email address on its website to publish notices. See

Ghione Certif. ¶6.

       20.     According to the OPRA request submitted by Richard Malagiere, Esq., the notice of

the special meeting was advertised to the public in The Record newspaper one (1) day after the

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special meeting took place.

       21.    The notice in its entirety stated:

              NOTICE OF SPECIAL MEETING OF THE MAYOR AND
              COUNCIL

              The following notice is transmitted in accordance with the Open
              Public Meetings Act (“OPMA”), N.J.S.A. 10:4-6 et seq.

              PLEASE TAKE NOTICE that the Palisade Park Mayor and Council
              will hold a Special Meeting on Thursday, November 2, 2023 1:00
              P.M. at Borough Hall, 275 Broad Avenue, Palisades Park, NJ 07650

              The agenda insofar as it is known at this time is consideration of the
              following:

              EXECUTIVE SESSION:
              Personnel – N.J.S.A. 10:4-12(b)(8)

              PLEASE BE ADVISED OFFICIAL ACTION MAY BE TAKEN
              By order of:
              Mayor and Council
              Gina S. Kim, RMC, CMC
              Borough Clerk

              The Record November 3, 2023
              Fee: 23.76 (27) 0009472934
              [See Malagiere Certif. Exhibit D]

       22.    An identical version of the public notice published in The Record and Herald News

was published in the Newark Star Ledger. See, Ghione Certif. Exhibit B.

       23.    The Record and Herald News have available Deadlines for Public Notices advising

by what day and time public notices need to be submitted to be published by a certain time. See,

Ghione Certif. Exhibit A.

       24.    The Star Ledger has a deadline date of at least 3 business days prior to the requested

publication date submitted by or before 3:00 pm. See, Ghione Certif. Exhibit C.

       25.    The public notice of the November 2, 2023 special meeting was published in the

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November 3, 2023 newspapers.

        26.    It appears clear that The Record, Herald News, and Star Ledger needed to have notice

of the November 2, 2023 special meeting by October 27, 2023 to publish by November 1, 2023 in

advance of the November 2, 2023 meeting.

        27.    There was no discussion relating to the suspension of plaintiff upon Resolution 2023-

224 being introduced.

        28.    The Mayor and Council of the Borough of Palisades Park voted (3 in favor and 1

opposed, with the mayor not voting and 2 council persons absent) to place Plaintiff David Lorenzo,

Borough Administrator “on administrative leave” at the illegal November 2, 2023 special meeting.

        29.    Upon information and belief, the illegal meeting was held for political purposes (five

(5) days before election day) and to further its retaliation against plaintiff for exercising his first

amendment right to support candidates other than Suk Kim (who voted in favor of suspending the

Plantiff).

        30.    A copy of the resolutions passed at the November 2, 2023 meeting were not provided

in response to Mr. Malagiere’s OPRA request. The Borough’s reason was: “[n]o records; the

Resolutions are under attorney review.” See Malagiere Certif. Exhibit A.

                              COUNT ONE
   (FAILURE TO PROVIDE ADEQUATE NOTICE OF THE SPECIAL MEETING IN TWO
   NEWSPAPERS THAT HAVE A LIKELIHOOD OF INFORMATING THE PUBLC AND
  NOTICE WAS NOT PROVIDED IN A TIMELY MANNER FOR THE NOTICE TO RUN IN
        ADVANCE OF THE SPECIAL MEETING PURSUANT TO N.J.S.A. 10:4-8)

        31.    Plaintiff hereby repeats and incorporates by reference all prior paragraphs of this

Verified Complaint as though fully set forth herein.

        32.    Defendants had actual or ascertainable knowledge that the public notice could not

have been published in advance of the November 2, 2023 Special Meeting based upon when the

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notice was provided to the newspapers.

       33.     Defendants were expected to be aware of time requirements for mail delivery and

publication of public notices.

       34.     Defendants failed to provide such prior notice in a timely manner resulting in notice

of the special meeting being published on November 3, 2023, the day after the special meeting.

       35.     The Defendants did not provide adequate notice in violation of the Open Public

Meetings Act by failing to make all reasonable efforts to have notice published in advance of the

meeting and Resolution 2023-224 should therefore be declared null and void.

       WHEREFORE, Plaintiff demands judgement as follows:

               A.      An Order or Judgment voiding Resolution 2023-224 and voiding any and all

                       action taken to suspend or place on administrative leave the Borough

                       Administrator David Lorenzo;

               B.      An award of costs of this action and reasonable attorneys’ fees to Plaintiff

                       David Lorenzo; and

               C.      Such other, further, and different relief as the Court may deem equitable and

                       just.

                              COUNT TWO
 (FAILURE TO PROVIDE NOTICE OF AGENDA KNOWN PURSUANT TO N.J.S.A. 10:4-8)

       36.     Plaintiff hereby repeats and incorporates by reference all prior paragraphs of this

Verified Complaint as though fully set forth herein.

       37.     Defendants were required to provide adequate notice of the November 2, 2023 special

meeting of the Palisades Park Mayor and Council per N.J.S.A. 10:4-8.

       38.     Defendants failed to provide the agenda to the extent known at the time of publication

of the special meeting’s notice.
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        39.     Defendants knew on October 30, 2023, that a Rice notice was being prepared and

 provided to plaintiff.

        40.     The agenda prepared and provided for on the notice did not include Resolution 2023-

 224 or any mention of Plaintiff.

        41.     Defendants prepared a revised agenda with three agenda items that were not included

 in the notice published in The Record and Herald News.

        42.     On October 31, 2023 plaintiff was provided with a Rice notice dated October 30,

 2023. Plaintiff waived his right to closed session and asked any matter relating to his employment

 be discussed in open session.

        43.     The Defendants did not provide adequate notice by failing to include the agenda to

 the extent known in the notice of the special meeting in violation of the Open Public Meetings Act

 and therefore Resolution 2023-224 should be declared null and void.

        WHEREFORE, Plaintiff demands judgement as follows:

                A.        An Order or Judgment voiding Resolution 2023-224 and voiding any and all

                          action taken to suspend or place on administrative leave the Borough

                          Administrator David Lorenzo;

                B.        An award of costs of this action and reasonable attorneys’ fees to Plaintiff

                          David Lorenzo; and

                C.        Such other, further and different relief as the Court may deem equitable and

                          just.

                                                               The Law Offices of Richard Malagiere
                                                                              Attorneys for Plaintiff
                                                                           By: /s/Richard Malagiere
                                                                            Richard Malagiere, Esq.
 Dated: December 8, 2023

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                             DESIGNATION OF TRIAL COUNSEL
        Plaintiff hereby designates Richard Malagiere Esq., as trial counsel.
                                                               The Law Offices of Richard Malagiere
                                                                              Attorneys for Plaintiff
                                                                           By: /s/Richard Malagiere
                                                                            Richard Malagiere, Esq.
 Dated: December 8, 2023



                         CERTIFICATION PURUSANT TO R. 1:38-7(B)
        I certify that confidential personal identifiers have been redacted from documents now

 submitted to the Court and will be redacted from all documents submitted in the future.

                                                               The Law Offices of Richard Malagiere
                                                                              Attorneys for Plaintiff
                                                                           By: /s/Richard Malagiere
                                                                            Richard Malagiere, Esq.
 Dated: December 8, 2023


                          CERTIFICATION OF NO OTHER ACTIONS

        Pursuant to R. 4:5-1, it is hereby stated that the matter in controversy is not the subject of

 any other action pending in any other court or of a pending arbitration proceeding to the best of my

 knowledge and belief except for the federal matter captioned DAVID J. LORENZO v. THE

 BOROUGH OF PALISADES PARK, NEW JERSEY; CHONG PAUL KIM (individually and in

 his official capacity as Mayor of the Borough of Palisades Park, New Jersey); and SUK “JOHN”

 MIN (individually and in his official capacity as a member of the Borough Council of Palisades

 Park, New Jersey) bearing a case number of 2:23-cv-21849. To the best of my belief, no other action

 or arbitration proceeding is pending or contemplated. Further, other than the parties set forth in the

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 pleading, I know of no other parties that should be joined in the above action. In addition, I recognize

 the continuing obligation of each party to file and serve on all parties and the Court an amended

 certification if there is a change in the facts stated in this original certification.

                                                                   The Law Offices of Richard Malagiere
                                                                                  Attorneys for Plaintiff
                                                                               By: /s/Richard Malagiere
                                                                                Richard Malagiere, Esq.
 Dated: December 8, 2023




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                    EXHIBIT A TO THE VERIFIED COMPLAINT




                    EXHIBIT A TO THE VERIFIED COMPLAINT
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                    EXHIBIT B TO THE VERIFIED COMPLAINT

   From:           Richard Malagiere
   To:             Giancarlo Ghione
   Subject:        FW: [EXTERNAL] Re: RICE Notice
   Date:           Tuesday, December 5, 2023 4:23:58 PM




                                   Richard Malagiere, Esq.
                             The Law Offices of Richard Malagiere
                                  A Professional Corporation
                               250 Moonachie Road, Suite 300A
                                Moonachie, New Jersey 07074
                                  Direct Dial: 201-509-4181
                                 Office Phone: 201-440-0675
                                  Office Fax: 201-440-1843
                                   rm@malagierelaw.com
                                       http://www.malagierelaw.com


  From: Matthew Moench <mmoench@kingmoench.com>
  Sent: Tuesday, October 31, 2023 1:19 PM
  To: Dave Lorenzo <dlorenzo@palisadesparknj.us>
  Cc: Gina Kim <gkim@palisadesparknj.us>; Sophia Jang <sjang@palisadesparknj.us>; Mayor Kim
  <mayorkim@palisadesparknj.us>; Richard Malagiere <rm@malagierelaw.com>
  Subject: [EXTERNAL] Re: RICE Notice

  Received.


          On Oct 31, 2023, at 12:59 PM, Dave Lorenzo <dlorenzo@palisadesparknj.us>
          wrote:

          ﻿
          Ms. Kim / Mr Moench;

          Please be advised that I am in receipt of what ‘appears’ to be
          intended as a Rice notice clearly drafted by a non-lawyer and not
          proofread before delivery.

          Notwithstanding, I am hereby exercising my right to waive closed
          session as it relates to my employment and ask that any matter


                         EXHIBIT B TO THE VERIFIED COMPLAINT
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                    EXHIBIT B TO THE VERIFIED COMPLAINT

       related to my employment be discussed in open session.

       Be guided accordingly



       Dave Lorenzo
       BA


       From: Gina Kim <gkim@palisadesparknj.us>
       Sent: Tuesday, October 31, 2023 10:16 AM
       To: Davide Lorenzo Boro Admin <dlorenzo@palisadesparknj.us>
       Cc: Sophia Jang <sjang@palisadesparknj.us>; Mayor Kim
       <mayorkim@palisadesparknj.us>; Matthew Moench <MMoench@kingmoench.com>
       Subject: RICE Notice

       Dear Mr. Lorenzo,

       Attached please find a RICE Notice prepared by Mayor Kim.

       Kindly confirm receipt.

       Thank you.

       Sincerely,
       Gina S. Kim, RMC/CMC
       Borough Clerk
       275 Broad Ave
       Palisades Park, NJ 07650
       Office: (201) 585-4153
       Fax: (201) 585-4155
       https://www.mypalisadespark.com




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                    EXHIBIT C TO THE VERIFIED COMPLAINT



                                                               October 30, 2023

 VIA CERTIFIED & REGULAR MAIL and EMAIL
 David Lorenzo
 INSERT ADDRESS

                RE:     Rice Notice
                        Thursday, November 2, 2023

 Dear Mr. Lorenzo:

 Please be advised that at the Borough’s special meeting, to be held on Thursday, November 2,
 2023, beginning at 1:00 p.m., the Governing Body may discuss a change in terms and conditions
 of your employment.

 Since this is a personnel matter, the Governing Body intends to discuss this matter during its
 executive session, which shall be closed to the public. Action, if any, will be taken in public. If
 there are any strictly personnel matters regarding your employment, notwithstanding litigation or
 pre-litigation items, you have the right to request, in writing, that the Governing Body conduct the
 discussion of these personnel items concerning your employment in public pursuant to the
 provisions of the Open Public Meetings Act (N.J.S.A. 10:4-6 et seq.), Rice v. Union County
 Regional High School Bd. Of Ed., 155 NJ Super 64 (App. Div. 1977); cert. den., 76 N.J. 238 (1978)
 and Kean Federation of Teachers v. Morell, 233 N.J. 566 (2018). If you decide to exercise this
 right, you must notify me, in writing, by returning a copy of this letter, by no later than 12:00 p.m.
 on Thursday, November 2, 2023. If you do not inform me of your election by the date and time
 noted herein, it will be assumed that you wish any discussion regarding the terms and conditions
 of your employment by the Governing Body to be held in executive session.

 If you have any questions, please feel free to contact me.

                                                                       Very truly yours,




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                    EXHIBIT D TO THE VERIFIED COMPLAINT
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                    EXHIBIT D TO THE VERIFIED COMPLAINT
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                    EXHIBIT D TO THE VERIFIED COMPLAINT
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                         Exhibit 2
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       SEMERARO & FAHRNEY, LLC
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       F: 973-988-5533
       E: msemeraro@semerarolaw.com
       Attorneys for Defendants

                                                       SUPERIOR COURT OF NEW JERSEY
        DAVID LORENZO                                  LAW DIVISION – BERGEN COUNTY

                                Plaintiff,             DOCKET NO.: BER-L-6632-23

        vs.                                                       A Civil Action

        BOROUGH OF PALISADES PARK;
        MAYOR AND COUNCIL OF PALISADES
        PARK
                     Defendants.



                           MEMORANDUM OF LAW IN OPPOSITION TO
                             PLAINTIFF’S ORDER TO SHOW CAUSE




                                                SEMERARO & FAHRNEY, LLC
                                                155 Route 46, Suite 108
                                                Wayne, New Jersey 07470
                                                Attorneys for Defendants

       R. Scott Fahrney, Esq.
       Mark J. Semeraro, Esq.
       On the Brief
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         395 A.2d 538 (N.J. Super. App. Div. 1978)............................................................................ 8, 9

       Mun. Council of City of Newark v. Essex Cnty. Bd. of Elections,
        611 A.2d 1157 (N.J. Super. L. Div. 1992) .............................................................................. 5, 6

       Statutes

       N.J.S.A. 10:4-12(b)(8) .............................................................................................................. 9, 10

       N.J.S.A. §10:4-15............................................................................................................................ 5

       N.J.S.A. §10:4-15(a) (West) .................................................................................................. passim

       N.J.S.A. §10:4-8(d) ................................................................................................................... 9, 10

       N.J.S.A. §19:4-15............................................................................................................................ 6

       N.J.S.A §10:4-6...................................................................................................................... passim

       N.J.S.A §10:4-8........................................................................................................................... 2, 3




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                                         PRELIMINARY STATEMENT

                 This matter comes before the Court by way of the Plaintiff’s, David Lorenzo, (“Plaintiff”)

       Verified Complaint (presumably in lieu of prerogative writ) challenging actions taken by the

       Governing Body of the Borough of Palisades Park and Order to Show Cause why a resolution

       adopted on November 2, 2023, placing the Plaintiff on paid administrative leave should not be

       invalidated.

                 The Plaintiff bases the requested relief upon two alleged violations of the notice

       requirements set forth in the New Jersey Open Public Meetings Act, N.J.S.A §10:4-6 et seq.,

       (“OPMA”) for a November 2, 2023 Special Council Meeting held by the Defendants, Borough of

       Palisades Park and the Mayor and Council of the Borough of Palisades Park, (hereinafter referred

       to as the “Borough”), which are now moot, as the Borough has taken corrective action as permitted

       by law.

                 As expressly permitted by N.J.S.A. §10:4-15(a) (West), the Borough properly re-noticed a

       subsequent Special Council Meeting, which was held on December 31, 2023 and ratified the

       actions challenged by Plaintiff from the November 2, 2023 meeting. This matter now ends.

                 As such, Plaintiff’s Order to Show Cause must be denied, and the Verified Complaint must

       be dismissed with prejudice as a matter of law.

                                            STATEMENT OF FACTS

                                     The November 2, 2023 Special Meeting

          1. On October 31, 2023, the Borough Clerk sent the Notice of the Special Meeting to the

                 Bergen Record and the New Jersey Star-Ledger (the official newspapers of the Borough),

                 asking that the paper “publish the attached notice as soon as possible for a Special Council




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             meeting to be held on November 2, 2023. See attached as Exhibits A and B, to the Cert. of

             Municipal Clerk, Gina Kim.

          2. On October 31, 2023, notice of the November 2, 2023 Special Meeting was also posted on

             the Borough’s bulletin board at Borough Hall as per the requirements of the N.J.S.A §10:4-

             8 as well as on the Borough’s website under Notices. See Cert. of Kim, ¶7.

          3. On November 2, 2023, Defendant, Borough of Palisades Park, held a special council

             meeting at 1:00 PM at which time it passed Resolution 2023-224 and placed the Plaintiff

             on administrative leave with full pay and benefits. Pl. Compl. ¶7.

          4. On November 2, 2023, the Borough of Palisades Park placed the Plaintiff on administrative

             leave with full pay and benefits under Resolution 2023-224. See Cert of Kim, Exhibit C.

          5. On December 8, 2023, Plaintiff filed the instant OTSC and Verified Complaint seeking to

             void the aforementioned Resolution 2023-224 due to alleged deficiencies in the notice

             published for the November 2, 2023 meeting, based upon inadequate time and content.

                         The Corrective Action pursuant to N.J.S.A. 10:4-15(a)

          6. On December 26, 2023, The Borough Council of Palisades Park, by and through the

             Municipal Clerk, called for a Special Meeting of the Borough Council to be conducted on

             December 31, 2023.

          7. On December 26, 2023, at approximately 1:19 PM, the Borough Clerk sent the Notice of

             the Special Meeting to be held 4:00 PM on December 31, 2023, to the Bergen Record (the

             official paper of the Borough), asking that the paper “publish the attached notice as soon

             as possible in the Record newspaper,” which shortly thereafter was confirmed to be

             December 29, 2023. See attached as Exhibit D, to the Cert. of Municipal Clerk, Gina Kim.




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          8. On December 26, 2023, at approximately 1:21 PM, the Borough Clerk sent the Notice of

             the Special Meeting to the Newark Star Ledger (the official paper of the Borough), asking

             that the paper “publish the attached notice as soon as possible in the Star-Ledger” and

             therefore complied with the Open Public Meetings Act. See attached as Exhibit E, to the

             Cert. of Municipal Clerk, Gina Kim.

          9. On December 26, 2023, Notice of the December 31, 2023 Special Meeting was also posted

             on the Borough’s bulletin board at Borough Hall as per the requirements of the N.J.S.A.

             §10:4-8 as well as on the Borough’s website under Notices. Kim Cert., ¶15.

          10. On December 26, 2023 at approximately 1:50 PM, the Agenda for the December 31, 2023

             Special Meeting was also posted on the Borough’s bulletin board at Borough Hall as per

             the requirements of the N.J.S.A. §10:4-8 as well as on the Borough’s website under

             Notices. See attached as Exhibit F, to the Cert. of Municipal Clerk, Gina Kim.

          11. On December 26, 2023, Plaintiff was provided with a Rice Notice via email, regular mail,

             and hand delivered courier, with the hand delivery being served upon the Plaintiff on

             December 27, 2023, at 8:38 am. See attached as Exhibit G, to the Cert. of Municipal Clerk,

             Gina Kim.

          12. On December 29, 2023, the Notice of the December 31, 2023 Special Meeting was

             published in the Bergen Record (the official paper of the Borough) in accordance with the

             OPMA. See attached as Exhibit H, to the Cert. of Municipal Clerk, Gina Kim.

          13. On December 29, 2023, the Notice of the December 31, 2023 Special Meeting was

             published in the Star-Ledger (the official paper of the Borough) in accordance with the

             OPMA. See attached as Exhibit I, to the Cert. of Municipal Clerk, Gina Kim.




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          14. On December 31, 2023, the Mayor and Council for the Borough of Palisades Park held a

               Special Meeting that fully complied with the OPMA. See Kim Cert. Exhibit F.

          15. On December 28, 2023, by way of email to Borough Clerk Kim, Plaintiff waived his right

               to a closed session at the meeting and asked that any matter related to his employment be

               discussed in open session.

          16. On December 31, 2023, the Mayor and Council, conducted no discussion on the personnel

               action in executive session, but discussed other matters, and thereafter in open session

               voted on Resolution 2023-261 without discussion, passed by a vote of 4-3 with Mayor Kim

               breaking the tie. See attached as Exhibit J, to the Cert. of Municipal Clerk, Gina Kim.

          17. Resolution 2023-261 placed Plaintiff on administrative leave with pay, including all

               emoluments, effective November 2, 2023, pending the conclusion of the Borough’s

               internal investigation. See attached as Exhibit J, to the Cert. of Municipal Clerk, Gina Kim.

                                             LEGAL ARGUMENT

          I.      THE BOROUGH TOOK CORRECTIVE AND REMEDIAL ACTION ON
                  DECEMBER 31, 2023, UNDER N.J.S.A. 10:4-15(A), AND THEREFORE THE
                  PLAINTIFF’S ORDER TO SHOW CAUSE IS MOOT

               In the matter at bar, Plaintiff claims that the Borough violated the Open Public Meetings

       Act, N.J.S.A. §10:4-6, et seq. (“OPMA”), by failing to provide adequate and timely notice and to

       the newspapers in time to be published for the Council’s November 2, 2023 meeting and that the

       actions to be taken by the Board should be voided as a result.

               While Defendants do not admit to any such violations, it nonetheless opted to correct any

       possible violations by scheduling a subsequent Special Council Meeting to ratify the actions taken

       in the November 2, 2023 meeting, as permitted to do by law.




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               While N.J.S.A. §10:4-15(a) provides that aggrieved parties could file an action in lieu of

       prerogative writ to void a public body’s action at a meeting that did not comply with the OPMA,

       it also expressly states:

                       that a public body may take corrective or remedial action by
                       acting de novo at a public meeting held in conformity with this
                       act and other applicable law regarding any action which may
                       otherwise be voidable pursuant to this section; and provided
                       further that any action for which advance published notice of at least
                       48 hours is provided as required by law shall not be voidable solely
                       for failure to conform with any notice required in this act. [Emphasis
                       added.]

               By virtue of the above language, our courts have long held that a public body can correct

       its errors when a prior meeting was not properly noticed, by having a subsequent meeting (this

       time properly noticed) and taking the same corrective action. See Mun. Council of City of Newark

       v. Essex Cnty. Bd. of Elections, 611 A.2d 1157, 1158 (N.J. Super. L. Div. 1992); Houman v.

       Mayor and Council of Borough of Pompton Lakes, 382 A.2d 413, 431 (N.J. Super. L. Div. 1977),

       (wherein the court explained the distinction between “voidable” and “void” as they relate to the

       OPMA and that if a corrective action is taken under the OPMA, the court found that a public body,

       pursuant to N.J.S.A. §10:4-15, could retroactively ratify its actions -- that is, corrective action may

       be taken nunc pro tunc.

               In Municipal Council of City of Newark, 611 A.2d at 1160, the city council brought an

       action to oppose new election boundaries and moved for partial summary judgment based on

       violation by county board of elections of the Open Public Meetings Act (OPMA). At the Board of

       Elections’ February 28, 1992 meeting, the Board adjusted several election districts in the eastern

       and central wards of Newark. Id. at 1157. This action was rescinded due to technical errors that

       occurred at the meeting. On March 9, 1992, the Board met and again adjusted the boundaries of

       the eastern and central wards of Newark. Id. The record reflected that the notice of both February


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       28, 1992 and March 9, 1992 meetings did not meet the requirements of the Open Public Meetings

       Act, N.J.S.A. §10:4-6, et seq., because the notices were published in only one newspaper and were

       not filed with the county clerk. Id. In addition, neither of the notices listed the meeting agenda, to

       the extent known, contrary to the requirements of the statute. Id.

              In City of Newark, the Board of Elections then scheduled a special meeting for May 29,

       1992. This meeting was properly noticed by filing the notice with the county clerk, publishing the

       notice in two newspapers, complete with the proposed agenda, posting the notice and making a

       press alert. Id. at 1158. In short, this meeting was in compliance with the OPMA. Id. At the

       meeting, the Board considered the redistricting de novo. Id.

              There the court held that “a public body may correct an action which does not comply with

       the OPMA by acting anew at a time when that body does comply with the OPMA. I further hold

       that the Board did act anew at its May 29, 1992 meeting and the corrective action taken by the

       Board, at that time, had the remedial effect of retroactively ratifying its actions nunc pro tunc, as

       of February 28, and March 9, 1992. Having determined that the Board's actions of May 29, 1992

       did not violate the OPMA and that those actions related back to its earlier meetings, it is not

       necessary for the court to consider plaintiff's claims with respect to N.J.S.A. §19:4-15, due to the

       fact that those actions were more than 75 days before the Primary Election.” Id. at 1160.

              Following Plaintiff’s assertions that the November 2, 2023 Special Meeting did not comply

       with the OPMA, on December 26, 2023, the Borough through the Borough Clerk, called for a

       Special Meeting of the Borough Council to be conducted on December 31, 2023.

              As set forth in the statement of facts above, all of the formalities associated with proper

       notice under N.J.S.A. §10:4-6 et seq., of the Open Public Meetings Act were meticulously adhered

       to. Not only was proper 48-hour notice requested by the paper, it is clear that it actually occurred



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       and that the notice was published more than 48 hours in advance of the meeting in both official

       papers of the Borough. See Kim Cert., Exhibits H and I.

              On December 31, 2023, the Mayor and Council for the Borough of Palisades Park held a

       Special Meeting that fully complied with the OPMA. See Kim Cert. Exhibit F. During the Special

       Meeting, the Mayor and Council also passed Resolution 2023-262 (appointing the Borough’s

       Police Director) as well as 2023-263 (appointing Special Legal Counsel), each ratifying prior

       actions taken at the November 2, 2023 meeting. See Kim Cert., Exhibit F.

              On December 31, 2023, the Mayor and Council then introduced Resolution 2023-261, and

       since the Plaintiff had waived its right to discussion in executive session, the Borough conducted

       no discussion on the personnel action in executive session. There was no discussion by the Council

       on the resolution, rather, the Resolution 2023-261 was motioned, seconded, and then voted on by

       the Mayor and Counsel, with the same ultimately passed by a vote of 4-3 with Mayor Kim breaking

       the tie, which placed Plaintiff on administrative leave with pay, including all emoluments,

       retroactive to November 2, 2023, pending the conclusion of the Borough’s internal investigation.

       See Kim Cert., Exhibit J.

              As such, the Borough complied with N.J.S.A. §10:4-15(a) by taking corrective action

       (retroactively) at its December 31, 2023 meeting, rendering this Order to Show Cause moot.

              As set forth above, this action is permitted under the both statutory and case law under

       N.J.S.A. §10:4-15(a), as well as the litany of cases which permit the Borough to take corrective

       action following claims that the initial meeting did not comply with the OPMA. Following the

       statutory requirements, the Borough made a corrective or remedial action by acting de novo at

       a public meeting held in conformity with this act and other applicable law regarding any




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       action which may otherwise be voidable pursuant to the OPMA. Furthermore, the Borough

       provided advance published notice of at least 48 hours is provided as required by law.

                As such, the Plaintiff’s Verified Complaint and Order to Show Cause is now moot and

       must be denied. Because the Plaintiff’s Verified Complaint and Order to Show Cause argues for

       the rescinding of Resolution 2023-226 (which already has been rescinded and replaced by

       Resolution 2023-261) there is no cause of action for which the Court can grant relief, and therefore,

       the Court must dismiss the Plaintiff’s Verified Complaint with Prejudice.

          II.      THE POSTED NOTICE CONFORMS WITH THE OPEN PUBLIC MEETINGS
                   ACT AS IT WAS ADEQUATE TO INFORM THE PUBLIC OF A PERSONNEL
                   DECISION.

                As set forth above, the Borough’s actions at the November 2, 2023 Special Meeting have

       been corrected de novo by the actions taken at the December 31, 2023 Special Meeting. As such,

       the Plaintiff’s claims that the posted Notice violated the OPMA are moot. Even if the Court does

       not deem the claims in this count to be moot (which it should), the posted agenda of the December

       31, 2023 was fully compliant with the OPMA. Nevertheless, the Plaintiff alleges that the Notice

       and Agenda posted on the Borough’s bulletin board was deficient.

                In La Fronz v. Weehawken Bd. of Ed., 395 A.2d 538 (N.J. Super. App. Div. 1978), the

       validity of personnel-related resolutions passed at a special meeting were challenged on the ground

       that the published notice with the agenda did not detail the specific subject matter of the

       resolutions, but rather, simply included among its listed items of business the subject matter of

       “personnel[.]” The Appellate Division held that use of the term “personnel” in the notice and

       agenda was “good and sufficient notice” under N.J.S.A. §10:4-8(d) to cover the resolutions. 395

       A.2d at 539.

                On October 31, 2023, the Borough published a Notice on its bulletin board that stated:



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                     NOTICE OF SPECIAL MEETING OF THE MAYOR AND
                     COUNCIL

                     The following notice is transmitted in accordance with the Open
                     Public Meetings Act (“OPMA”), N.J.S.A. 10:4-6 et seq.

                     PLEASE TAKE NOTICE that the Palisade Park Mayor and Council
                     will hold a Special Meeting on Thursday, November 2, 2023 1:00
                     P.M. at Borough Hall, 275 Broad Avenue, Palisades Park, NJ 07650

                     The agenda insofar as it is known at this time is consideration of the
                     following:

                     EXECUTIVE SESSION:
                     in Personnel – N.J.S.A. 10:4-12(b)(8)

                     PLEASE BE ADVISED OFFICIAL ACTION MAY BE TAKEN

                     By order of:
                     Mayor and Council
                     Gina S. Kim, RMC, CMC
                     Borough Clerk
                     The Record November 3, 2023
                     Fee: 23.76 (27) 0009472934
                     [See Malagiere Certif. Exhibit D; Pl. Compl. ¶21]

              Notwithstanding the fact that the Borough ultimately took corrective action, as detailed

       above, this notice met all the requirements of the OPMA, and is deemed sufficient by La Fronz,

       395 A.2d 538. For this reason alone, the Court must deny the Plaintiff’s Order to Show Cause and

       dismiss the Verified Complaint.

              Additionally, in taking corrective action under N.J.S.A. 10:4-15(a), on the Borough

       published the following notice at the Borough Hall bulletin board, on its website, and published

       the same with 48-hour advance notice in the Bergen Record and Star Ledger as required by the

       OPMA.




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                    NOTICE OF SPECIAL MEETING OF THE MAYOR AND
                    COUNCIL
                     The following notice is transmitted in accordance with the Open
                     Public Meetings Act (“OPMA”), N.J.S.A. 10:4-6 et seq.

                     PLEASE TAKE NOTICE that the Palisades Park Mayor and
                     Council will hold a Special Meeting on Sunday, December 31, 2023
                     at 4:00 P.M. at Borough Hall, 275 Broad Avenue, Palisades Park,
                     NJ 07650.

                     The agenda insofar as it is known at this time is consideration of the
                     following:


                     EXECUTIVE SESSION:
                     Personnel – N.J.S.A. 10:4-12(b)(8)

                     OFF CONSENT AGENDA:
                     Authorization to place employee on leave
                     Appointment of Police Director
                     Appointment of Special Legal Counsel

                     PLEASE BE ADVISED OFFICIAL ACTION MAY BE
                     TAKEN

                     By Order of:
                     Mayor and Council
                     Gina S. Kim, RMC, CMC
                     Borough Clerk
                     [See Kim Cert. Exhibit F.]

              As set forth above, the Appellate Division has previously confirmed that the use of the term

       “personnel action” in the agenda was “good and sufficient notice” under N.J.S.A. 10:4-8(d) to

       cover the resolutions. Here the Borough took even more precautions and specifically stated that

       they were discussing a resolution for “authorization to place employee on leave” at the December

       31, 2023 meeting. See Kim Cert., Exhibit F. The Borough placed proper notices in the newspapers

       [Kim Cert., Exs. D, E, H, and I]. The Borough properly served Plaintiff with a Rice Notice [Kim

       Cert., Ex. G]. The Borough therefore complied with all applicable notice requirements under the

       OPMA, making the Plaintiff’s claims moot. Since the Borough has explicit authority to take

       corrective action under N.J.S.A. 10:4-15(a), the corrective action renders the Plaintiff’s claim

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       baseless. The corrective notice posted above meets all the requirements of the OPMA, and as

       such, the Plaintiff’s claims that the Notice and published agenda were insufficient is both baseless

       in law and fact, and must be dismissed as a matter of law.

              As such, the Plaintiff’s Verified Complaint and Order to Show Cause is now moot and

       must be denied. Because the Plaintiff’s Complaint merely calls for a rescinding of Resolution

       2023-226 (which already has been rescinded and replaced by Resolution 2023-261) there is no

       cause of action for which the Court can grant relief, and therefore, the Court must dismiss the

       Plaintiff’s Verified Complaint with Prejudice.

                                                CONCLUSION

              For the reasons set forth above, the plaintiff has failed to establish by clear and convincing

       evidence that the Borough violated the Open Public Meetings Act, and thus cannot sustain a cause

       of action before the Court. As such, the Plaintiff’s Order to Show Cause must be denied, and the

       Verified Complaint must be dismissed with prejudice.



                                                             Respectfully Submitted,

                                                             /s/ Mark J. Semeraro, Esq.
                                                             Mark J. Semeraro, Esq.

       Dated: January 5, 2024




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        Email sfahrney@semerarolaw.com
        Attorneys for Defendants

                                                         SUPERIOR COURT OF NEW JERSEY
         DAVID LORENZO                                   LAW DIVISION – BERGEN COUNTY

                               Plaintiff                 DOCKET NO.: BER-L-6632-23

         vs.                                                             A Civil Action

         BOROUGH OF PALISADES PARK;                                CERTIFICATION OF
         MAYOR AND COUNCIL OF PALISADES                          GINA S. KIM, RMC, CMC
         PARK
                      Defendants.



        I, Gina S. Kim, RMC, Case Management Conference, do hereby affirm or certify as follows:

           1. I am the Municipal Clerk for the Borough of Palisades Park, New Jersey.

                                   The November 2, 2023 Special Meeting

           2. On October 31, 2023, at approximately 10:10 am, I sent the Notice of the Special Meeting

               to the Bergen Record (the official paper of the Borough), asking that the paper “publish

               the attached notice as soon as possible in the Record newspaper” and therefore complied

               with the Open Public Meetings Act.

           3. Attached as Exhibit A, is a true and complete copy of my email to the Bergen Record dated

               October 31, 2023.

           4. Immediately thereafter, I sent the Notice of the Special Meeting to the Star Ledger (the

               official paper of the Borough), asking that the paper “publish the attached notice as soon

               as possible in the Star-Ledger” and therefore complied with the Open Public Meetings Act.

           5. Attached as Exhibit B, is a true and complete copy of my email to the Star Ledger dated

               October 31, 2023.
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           6. On October 31, 2023, notice of the November 2, 2023 Special Meeting was also posted on

              the Borough’s Bulletin Board at Borough Hall as per the requirements of the N.J.S.A. 10:4-

              8 as well as on the Borough’s website under Notices.

           7. On November 2, 2023, the Borough of Palisades Park placed the Plaintiff on administrative

              leave with full pay and benefits under Resolution 2023-226.

           8. Attached hereto as Exhibit C, is a true and complete copy of Resolution 2023-226.

                          The Corrective Action pursuant to N.J.S.A. 10:4-15(a)

           9. On December 26, 2023, I was asked by the Mayor and Borough Council of Palisades Park

              to call for a Special Meeting of the Borough Council to be conducted on December 31,

              2023.

           10. On December 26, 2023, at approximately 1:19 pm, I sent the Notice of the Special Meeting

              to the Bergen Record (the official paper of the Borough), asking that the paper “publish

              the attached notice as soon as possible in the Record newspaper” and therefore complied

              with the Open Public Meetings Act.

           11. See attached as Exhibit D, a true and complete copy of my email to the Bergen Record

              dated December 26, 2023.

           12. On December 26, 2023, at approximately 1:21 pm, the Borough Clerk sent the Notice of

              the Special Meeting to the Newark Star Ledger (the official paper of the Borough), asking

              that the paper “publish the attached notice as soon as possible in the Star-Ledger” and

              therefore complied with the Open Public Meetings Act.

           13. See attached as Exhibit E, a true and complete copy of my email to the Star Ledger dated

              December 26, 2023.
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           14. On December 26, 2023, Notice of the December 31, 2023 Special Meeting was also posted

              on the Borough’s Bulletin Board at Borough Hall as per the requirements of the N.J.S.A.

              10:4-8 as well as on the Borough’s website under Notices.

           15. On December 26, 2023 at approximately 1:50 pm, the Agenda for the December 31, 2023

              Special Meeting was also posted on the Borough’s Bulletin Board at Borough Hall as per

              the requirements of the N.J.S.A. 10:4-8 as well as on the Borough’s website under Notices.

           16. Attached as Exhibit F, is a true and complete copy of the posted Agenda for the December

              31, 2023 Special Meeting.

           17. On December 26, 2023, Plaintiff was provided with a Rice Notice by Borough Counsel via

              email, regular mail and hand delivered courier, with the hand delivery being served upon

              the Plaintiff on December 27, 2023 at 8:38 am.

           18. Attached as Exhibit G, is a true and complete copy of the Rice Notice, with delivery receipt.

           19. On December 29, 2023, the Notice of the December 31, 2023 Special Meeting was

              published in the Bergen Record (the official paper of the Borough) in accordance with the

              OPMA.

           20. Attached as Exhibit H, is a true and complete copy of the Bergen Record’s Affidavit of

              Publication of the Notice of the December 31, 2023 Special Meeting.

           21. On December 29, 2023, the Notice of the December 31, 2023 Special Meeting was

              published in the Star-Ledger (the official paper of the Borough) in accordance with the

              OPMA.

           22. Attached as Exhibit I, is a true and complete copy of the Star Ledger’s Affidavit of

              Publication of the Notice of the December 31, 2023 Special Meeting.
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           23. On December 31, 2023, the Mayor and Council, conducted no discussion on the personnel

               action in executive session and then voted on Resolution 2023-261, with the same

               ultimately passed by a vote of 4-3 with Mayor Kim breaking the tie, which placed Plaintiff

               on administrative leave with pay, including all emoluments, effective November 2, 2023,

               pending the conclusion of the Borough’s internal investigation.

           24. Attached as Exhibit J, is a true and complete copy of Resolution 2023-261.

        I hereby certify that the foregoing statements made by me are true. I am aware that if any of the

        foregoing statements made by me are willfully false, I am subject to punishment.



                                                            _______________________________
                                                            Gina S. Kim, RMC, CMC
                                                            Borough of Palisades Park
        Dated: January 4, 2024
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      BER-L-006632-23 01/05/2024 3:09:54 PM Pg 11 of 35 Trans ID: LCV202448445
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      BER-L-006632-23 01/05/2024 3:09:54 PM Pg 12 of 35 Trans ID: LCV202448445
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      BER-L-006632-23 01/05/2024 3:09:54 PM Pg 13 of 35 Trans ID: LCV202448445
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      BER-L-006632-23 01/05/2024 3:09:54 PM Pg 14 of 35 Trans ID: LCV202448445
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                          Exhibit 3
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 Richard Malagiere Attorney ID: (037951996)
 Leonard E. Seaman Attorney ID: (035021990)
 Giancarlo Ghione Attorney ID: (294482020)
 Attorneys for Plaintiff
  DAVID LORENZO                             SUPERIOR COURT OF NEW JERSEY
                                            LAW DIVISION: BERGEN COUNTY
                         PLAINTIFF,
                                            DOCKET NO.: BER-L-6632-23
   V.
                                                    CIVIL ACTION

  BOROUGH OF PALISADES PARK;                            FIRST AMENDED VERIFIED
  MAYOR AND COUNCILOF                                          COMPLAINT
  PALISADES PARK

                         DEFENDANTS.

        Plaintiff David Lorenzo by way of verified complaint against Defendants Borough of

 Palisades Park, and Mayor and Council of Palisades Park (collectively “Defendants”) says:

                                    ABSTRACT STATEMENT

        On December 8, 2023, Plaintiff David Lorenzo filed its verified complaint alleging

 Defendants violated the Open Public Meetings Act when it held its November 2, 2023, special

 meeting. The Open Public Meetings Act was violated at the November 2, 2023, special meeting

 because (1) Defendants failed to properly notice the special meeting in two newspapers in Palisades

 Park’s general circulation and (2) defendants filed to provide the agenda to the extent it was known

 at the time of the publication of the special meeting’s public notice.

        On December 31, 2023, Defendants held a special meeting to correct these deficiencies. The

 Defendants again violated the Open Public Meetings Act at the December 31, 2023, meeting,

 because Defendants (1) defendants filed to provide the agenda to the extent it was known at the time

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 of the publication of the special meeting’s public notice and (2) for entering executive closes session

 after Plaintiff waived his right to have his employment discussed in a closed executive session. This

 amended verified complaint adds relevant facts and two counts relating to the December 31, 2023

 meeting. The amendment is made pursuant to Rule 4:9-1 which permits a party to amend a pleading

 as a matter of right before a responsive pleading is served.

                                           THE PARTIES

        1.      Plaintiff David Lorenzo is a resident of Palisades Park. Lorenzo is the Borough

 Administrator of Palisades Park.

        2.      Defendant Borough of Palisades Park is a body politic and corporate of the State of

 New Jersy and the governing body of the Borough of Palisades Park located in the County of Bergen.

        3.      The Defendant Mayor and Council of Palisades Park is the governing body of the

 Borough of Palisades Park.

                                               VENUE

        4.      Venue is properly laid in Bergen County because the defendants are public bodies

 located in Bergen County. R. 4:3-2(a).

                                    FACTUAL ALLEGATIONS

        5.      On January 3, 2023 the defendant Borough of Palisades Park passed Resolution 2023-

 9 setting the schedule of Mayor and Council meetings for the year of 2023. A true and accurate copy

 of Resolution 2023-9 is attached hereto as Exhibit A.

        6.      The Record and Newark Star Ledger were named as the official newspapers for

 Palisades Park at the February 27, 2023 mayor and council meeting. A true and accurate copy of the

 relevant portions of Resolution 2023-1 is attached hereto as Exhibit D.

        7.      On November 2, 2023 defendant Borough of Palisades Park held a special council

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 meeting at 1:00 PM at which time it suspended and placed on administrative leave the Plaintiff –

 Borough Administrator.

        8.      Plaintiff is the president of the Palisades Park Democratic Club. Plaintiff and the

 Palisades Park Democratic Club ceased supporting members of defendant Palisades Park Mayor and

 Council in the 2023 election cycle 1.

        9.      An election was held on Tuesday November 7, 2023 – five days after the November

 2, 2023 special meeting.

        10.     On October 31, 2023, Plaintiff was provided with Rice notice via email. Upon

 information and belief, the notice was prepared by Mayor Paul Kim. A true and accurate copy of the

 email providing Plaintiff with Rice notice is attached hereto as Exhibit B.

        11.     On October 31, 2023 Plaintiff responded and waived his right to closed session and

 asked that any matter related to his employment be discussed in open session. See Exhibit B.

        12.     The Rice notice provided to Plaintiff was dated October 30, 2023. A true and accurate

 copy of the Rice notice is attached hereto as Exhibit C.

        13.     An agenda with no specific items of business relating to the November 2, 2023

 special meeting was posted on the Borough’s website in advance of the special meeting.

        14.     The only item of business identified on the agenda posted on the Borough’s website

 was “Resolution 2023-223 Authorization to Enter Executive Session.” See, Certification of Richard

 Malagiere (“Malagiere Cert.”) Exhibit B.

        15.     A “revised” agenda was provided to Plaintiff’s counsel in response to an OPRA

 request which is/was not posted online. See, Malagiere Cert. Exhibit C.



 1
   https://www.nj.com/bergen/2023/11/town-official-suspended-after-ordering-candidates-name-
 removed-from-campaign-signs-lawsuit-says.html (Last visited December 8, 2023)
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        16.     The revised agenda adds three “Off Consent Agenda”:

                i)     RESOLUTION 2023-224 Authorization to Place Employee
                on Administrative Leave (RE: D. Lorenzo)
                ii)    RESOLUTION 2023-225 Appointment of Police Director
                (RE: M. Gardner)
                iii)   RESOLUTION 2023-226 Appointment of Special Counsel
                (RE: Ruderman & Roth, LLC)
                [See, Malagiere Certif. Exhibit C]

        17.     Notice of the special meeting was published in The Record and Newark Star Ledger

 on November 3, 2023 (one day after the special meeting). See, Malagiere Cert. Exhibit D; Ghione

 Certif. Exhibit B.

        18.     Notices of public meetings published in The Record and Herald News are submitted

 electronically to the newspaper through an online portal maintained by Gannett. See Certification of

 Giancarlo Ghione (“Ghione Cert.”) ¶4.

        19.     NJ Advance Media provides an email address on its website to publish notices. See

 Ghione Certif. ¶6.

        20.     According to the OPRA request submitted by Richard Malagiere, Esq., the notice of

 the special meeting was advertised to the public in The Record newspaper one (1) day after the

 special meeting took place.

        21.     The notice in its entirety stated:

                NOTICE OF SPECIAL MEETING OF THE MAYOR AND
                COUNCIL

                The following notice is transmitted in accordance with the Open
                Public Meetings Act (“OPMA”), N.J.S.A. 10:4-6 et seq.

                PLEASE TAKE NOTICE that the Palisade Park Mayor and Council
                will hold a Special Meeting on Thursday, November 2, 2023 1:00
                P.M. at Borough Hall, 275 Broad Avenue, Palisades Park, NJ 07650

                The agenda insofar as it is known at this time is consideration of the
                following:
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               EXECUTIVE SESSION:
               Personnel – N.J.S.A. 10:4-12(b)(8)

               PLEASE BE ADVISED OFFICIAL ACTION MAY BE TAKEN
               By order of:
               Mayor and Council
               Gina S. Kim, RMC, CMC
               Borough Clerk

               The Record November 3, 2023
               Fee: 23.76 (27) 0009472934
               [See Malagiere Certif. Exhibit D]

        22.    An identical version of the public notice published in The Record and Herald News

 was published in the Newark Star Ledger. See, Ghione Certif. Exhibit B.

        23.    The Record and Herald News have available Deadlines for Public Notices advising

 by what day and time public notices need to be submitted to be published by a certain time. See,

 Ghione Certif. Exhibit A.

        24.    The Star Ledger has a deadline date of at least 3 business days prior to the requested

 publication date submitted by or before 3:00 pm. See, Ghione Certif. Exhibit C.

        25.    The public notice of the November 2, 2023 special meeting was published in the

 November 3, 2023 newspapers.

        26.    It appears clear that The Record, Herald News, and Newark Star Ledger needed to

 have notice of the November 2, 2023 special meeting by October 27, 2023 to publish by November

 1, 2023 in advance of the November 2, 2023 meeting.

        27.    There was no discussion relating to the suspension of plaintiff upon Resolution 2023-

 224 being introduced.

        28.    The Mayor and Council of the Borough of Palisades Park voted (3 in favor and 1

 opposed, with the mayor not voting and 2 council persons absent) to place Plaintiff David Lorenzo,

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 Borough Administrator “on administrative leave” at the illegal November 2, 2023 special meeting.

         29.    Upon information and belief, the illegal meeting was held for political purposes (five

 (5) days before election day) and to further its retaliation against plaintiff for exercising his first

 amendment right to support candidates other than Suk Kim (who voted in favor of suspending the

 Plaintiff).

         30.    A copy of the resolutions passed at the November 2, 2023 meeting were not provided

 in response to Mr. Malagiere’s OPRA request. The Borough’s reason was: “[n]o records; the

 Resolutions are under attorney review.” See Malagiere Certif. Exhibit A.

         31.    On December 29, 2023, defendants published notice of a December 31, 2023, special

 council meeting in The Record and The Star Ledger. A true and accurate copy of the Newark Start

 Ledger and The Record public notices are attached hereto as Exhibit E.

         32.    The notice in its entirety stated:

                NOTICE OF SPECIAL MEETING OF THE MAYOR AND COUNCIL
                The following notice is transmitted in accordance with the Open Public
                Meetings Act (“OPMA”), N.J.S.A. 10:4-6 et seq. PLEASE TAKE
                NOTICE that the Palisades Park Mayor and Council will hold a Special
                Meeting on Sunday, December 31, 2023 at 4:00 P.M. at Borough Hall,
                275 Broad Avenue, Palisades Park, NJ 07650. The agenda insofar as it is
                known at this time is consideration of the following: EXECUTIVE
                SESSION: Personnel – N.J.S.A. 10:4-12(b)(8) OFF CONSENT
                AGENDA: Authorization to place employee on leave Appointment of
                Police Director Appointment of Special Legal Counsel PLEASE BE
                ADVISEDOFFICIAL ACTION MAY BE TAKEN By Order of: Mayor
                and Council Gina S. Kim, RMC, CMC Borough Clerk. The Mayor and
                Council of the Borough of Palisades Park voted (3 in favor and 1 opposed,
                with the mayor not voting and 2 council persons absent) to place Plaintiff
                David Lorenzo, Borough Administrator “on administrative leave” at the
                illegal November 2, 2023 special meeting.

         33.    The Mayor and Council of the Borough of Palisades Park voted (4 in favor and 3

 opposed, with the mayor voting in favor as the tie breaking vote) to place Plaintiff David Lorenzo,

 Borough Administrator “on administrative leave” at the illegal December 31, 2023 special meeting.

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        34.     On December 28, 2023 plaintiff received a Rice Notice advising him that his

 employment would be discussed at a December 31, 2023, special mayor and council meeting. A true

 and accurate copy of this Rice Notice is attached hereto as Exhibit F.

        35.     On December 28, 2023 plaintiff waived his right to closed session and asked that any

 matter related to his employment be discussed in open session. A true and accurate copy of Plaintiff

 waiving his right to closed session is attached hereto as Exhibit G.

        36.     Upon information and belief, Defendants entered closed executive session at the

 December 31, 2023 meeting and discussed plaintiff’s employment, terms and conditions of

 employment, evaluation of the performance of, promotion, or disciplining of plaintiff.

        37.     On January 3, 2023, my attorney submitted an OPRA request on my behalf. This

 OPRA request sought:

                1)      Public Notice, including certification of publication, of the
                December 31, 2023, council meeting
                2)      Agenda for the December 31, 2023, council meeting
                3)      Meeting minutes for the December 31, 2023, council meeting
                4)      Closed session meeting minutes of the December 31, 2023,
                council meeting
                5)      Resolutions passed at the December 31, 2023, council meeting
                6)      Transcript of the December 31, 2023, council meeting
                7)      Audio file of the December 31, 2023, council meeting
                [A true and accurate copy of this OPRA request is attached hereto as
                Exhibit H.]
                                              COUNT ONE
    (FAILURE TO PROVIDE ADEQUATE NOTICE OF THE SPECIAL MEETING IN TWO
    NEWSPAPERS THAT HAVE A LIKELIHOOD OF INFORMATING THE PUBLC AND
   NOTICE WAS NOT PROVIDED IN A TIMELY MANNER FOR THE NOTICE TO RUN IN
         ADVANCE OF THE SPECIAL MEETING PURSUANT TO N.J.S.A. 10:4-8)

        38.     Plaintiff hereby repeats and incorporates by reference all prior paragraphs of this

 Verified Complaint as though fully set forth herein.

        39.     Defendants had actual or ascertainable knowledge that the public notice could not

 have been published in advance of the November 2, 2023 Special Meeting based upon when the

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 notice was provided to the newspapers.

        40.     Defendants were expected to be aware of time requirements for mail delivery and

 publication of public notices.

        41.     Defendants failed to provide such prior notice in a timely manner resulting in notice

 of the special meeting being published on November 3, 2023, the day after the special meeting.

        42.     The Defendants did not provide adequate notice in violation of the Open Public

 Meetings Act by failing to make all reasonable efforts to have notice published in advance of the

 meeting and Resolution 2023-224 should therefore be declared null and void.

        WHEREFORE, Plaintiff demands judgement as follows:

                A.      An Order or Judgment voiding Resolution 2023-224 and voiding any and all

                        action taken to suspend or place on administrative leave the Borough

                        Administrator David Lorenzo;

                B.      An award of costs of this action and reasonable attorneys’ fees to Plaintiff

                        David Lorenzo; and

                C.      Such other, further, and different relief as the Court may deem equitable and

                        just.

                               COUNT TWO
   (FAILURE TO PROVIDE NOTICE OF AGENDA KNOWN OF THE NOVEMBER 2, 2023
                 SPECIAL MEETING PURSUANT TO N.J.S.A. 10:4-8)

        43.     Plaintiff hereby repeats and incorporates by reference all prior paragraphs of this

 Verified Complaint as though fully set forth herein.

        44.     Defendants were required to provide adequate notice of the November 2, 2023 special

 meeting of the Palisades Park Mayor and Council per N.J.S.A. 10:4-8.

        45.     Defendants failed to provide the agenda to the extent known at the time of publication

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 of the special meeting’s notice.

        46.     Defendants knew on October 30, 2023, that a Rice notice was being prepared and

 provided to plaintiff.

        47.     The agenda prepared and provided for on the notice did not include Resolution 2023-

 224 or any mention of Plaintiff.

        48.     Defendants prepared a revised agenda with three agenda items that were not included

 in the notice published in The Record and Herald News.

        49.     On October 31, 2023 plaintiff was provided with a Rice notice dated October 30,

 2023. Plaintiff waived his right to closed session and asked any matter relating to his employment

 be discussed in open session.

        50.     The Defendants did not provide adequate notice by failing to include the agenda to

 the extent known in the notice of the special meeting in violation of the Open Public Meetings Act

 and therefore Resolution 2023-224 should be declared null and void.

        WHEREFORE, Plaintiff demands judgement as follows:

                A.        An Order or Judgment voiding Resolution 2023-224 and voiding any and all

                          action taken to suspend or place on administrative leave the Borough

                          Administrator David Lorenzo;

                B.        An award of costs of this action and reasonable attorneys’ fees to Plaintiff

                          David Lorenzo; and

                C.        Such other, further and different relief as the Court may deem equitable and

                          just.

                               COUNT THREE
   (FAILURE TO PROVIDE NOTICE OF AGENDA KNOWN OF THE DECEMBER 31, 2023
                 SPECIAL MEETING PURSUANT TO N.J.S.A. 10:4-8)

                                                  -9-
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        51.     Plaintiff hereby repeats and incorporates by reference all prior paragraphs of this

 Verified Complaint as though fully set forth herein.

        52.     Defendants were required to provide adequate notice of the December 31, 2023

 special meeting of the Palisades Park Mayor and Council per N.J.S.A. 10:4-8.

        53.     Defendants failed to provide the agenda to the extent known at the time of publication

 of the special meeting’s notice.

        54.     The notice published in The Record and Star Ledger provided an off-consent agenda

 item for “Authorization to place employee on leave” but failed to name plaintiff despite Defendants

 knowing Plaintiff was the employee to be placed on leave.

        55.     The agenda prepared and provided did not mention that Defendants sought to place

 the borough administrator on leave.

        56.     The Defendants provided Plaintiff with a Rice notice on December 28, 2023.

        57.     The Defendants at all times knew Plaintiff was the employee to be placed on leave

 but failed to identify him by name or title.

        58.     The Defendants did not provide adequate notice by failing to name plaintiff as the

 employee being placed on leave.

        59.     The Defendants failure to include the agenda to the extent known was violative of

 the Open Public Meetings Act and therefore any actions taken placing Plaintiff on leave should be

 declared null and void.

        WHEREFORE, Plaintiff demands judgement as follows:

                D.      An Order or Judgment voiding the December 31, 2023 council meeting and

                        voiding any and all action taken to suspend or place on administrative leave

                        the Borough Administrator David Lorenzo;

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                   E.     An award of costs of this action and reasonable attorneys’ fees to Plaintiff

                          David Lorenzo; and

                   F.     Such other, further and different relief as the Court may deem equitable and

                          just.

                               COUNT FOUR
   (VIOLATION OF THE OPEN PUBLIC MEETINGS ACT BY EXCLUDING THE PUBLIC
  FROM DISCUSSION RELATING TO PLAINTIFF’S EMPLOYMENT IN ABUSE OF N.J.S.A.
                               §10:4-12(b)(8))

        60.        Plaintiff hereby repeats and incorporates by reference all prior paragraphs of this

 Verified Complaint as though fully set forth herein.

        61.        Defendants’ public meetings must always be open to the public except for reasons

 enumerated in the Open Public Meetings Act N.J.S.A. §10:4-12.

        62.        The Open Public Meetings Act provides employees with a right to have their

 employment or personnel matter discussed publicly, thereby preventing executive closed session

 discussion regarding their employment.

        63.        The public notice of the December 31, 2023 meeting stated the only executive session

 item was to be “Personnel - N.J.S.A. §10:4-12(b)(8).”

        64.        The only personnel issue to be considered at the December 31, 2023 special meeting

 was to place plaintiff on administrative leave.

        65.        On December 28, 2023, Plaintiff waived his right to have his matter discussed in

 closed session.

        66.        Upon waiving his right to have this employment discussed in closed session the need

 for closed session expired.

        67.        Defendants entered executive closed session and upon information and belief

 discussed Plaintiff and his employment in violation of the Open Public Meetings Act.
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        WHEREFORE, Plaintiff demands judgement as follows:

               A.      An Order or Judgment voiding the December 31, 2023 council meeting and

                       voiding any and all action taken to suspend or place on administrative leave

                       the Borough Administrator David Lorenzo;

               B.      An award of costs of this action and reasonable attorneys’ fees to Plaintiff

                       David Lorenzo; and

               C.      Such other, further and different relief as the Court may deem equitable and

                       just.



                                                             The Law Offices of Richard Malagiere
                                                                            Attorneys for Plaintiff
                                                                         By: /s/Richard Malagiere
                                                                          Richard Malagiere, Esq.
 Dated: January 4, 2024




                               DESIGNATION OF TRIAL COUNSEL
        Plaintiff hereby designates Richard Malagiere Esq., as trial counsel.
                                                             The Law Offices of Richard Malagiere
                                                                            Attorneys for Plaintiff
                                                                         By: /s/Richard Malagiere
                                                                          Richard Malagiere, Esq.
 Dated: January 4, 2024



                          CERTIFICATION PURUSANT TO R. 1:38-7(B)
        I certify that confidential personal identifiers have been redacted from documents now

 submitted to the Court and will be redacted from all documents submitted in the future.

                                                -12-
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                                                                   The Law Offices of Richard Malagiere
                                                                                  Attorneys for Plaintiff
                                                                               By: /s/Richard Malagiere
                                                                                Richard Malagiere, Esq.
 Dated: January 4, 2024


                           CERTIFICATION OF NO OTHER ACTIONS

         Pursuant to R. 4:5-1, it is hereby stated that the matter in controversy is not the subject of

 any other action pending in any other court or of a pending arbitration proceeding to the best of my

 knowledge and belief except for the federal matter captioned DAVID J. LORENZO v. THE

 BOROUGH OF PALISADES PARK, NEW JERSEY; CHONG PAUL KIM (individually and in

 his official capacity as Mayor of the Borough of Palisades Park, New Jersey); and SUK “JOHN”

 MIN (individually and in his official capacity as a member of the Borough Council of Palisades

 Park, New Jersey) bearing a case number of 2:23-cv-21849. To the best of my belief, no other action

 or arbitration proceeding is pending or contemplated. Further, other than the parties set forth in the

 pleading, I know of no other parties that should be joined in the above action. In addition, I recognize

 the continuing obligation of each party to file and serve on all parties and the Court an amended

 certification if there is a change in the facts stated in this original certification.

                                                                   The Law Offices of Richard Malagiere
                                                                                  Attorneys for Plaintiff
                                                                               By: /s/Richard Malagiere
                                                                                Richard Malagiere, Esq.
 Dated: January 4, 2024




                                                     -13-
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                    EXHIBIT A TO THE VERIFIED COMPLAINT




                    EXHIBIT A TO THE VERIFIED COMPLAINT
      BER-L-006632-23 01/04/2024 2:21:32 PM Pg 16 of 29 Trans ID: LCV202434712
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                    EXHIBIT A TO THE VERIFIED COMPLAINT




                    EXHIBIT A TO THE VERIFIED COMPLAINT
        BER-L-006632-23 01/04/2024 2:21:32 PM Pg 17 of 29 Trans ID: LCV202434712
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                    EXHIBIT B TO THE VERIFIED COMPLAINT

   From:           Richard Malagiere
   To:             Giancarlo Ghione
   Subject:        FW: [EXTERNAL] Re: RICE Notice
   Date:           Tuesday, December 5, 2023 4:23:58 PM




                                   Richard Malagiere, Esq.
                             The Law Offices of Richard Malagiere
                                  A Professional Corporation
                               250 Moonachie Road, Suite 300A
                                Moonachie, New Jersey 07074
                                  Direct Dial: 201-509-4181
                                 Office Phone: 201-440-0675
                                  Office Fax: 201-440-1843
                                   rm@malagierelaw.com
                                       http://www.malagierelaw.com


   From: Matthew Moench <mmoench@kingmoench.com>
   Sent: Tuesday, October 31, 2023 1:19 PM
   To: Dave Lorenzo <dlorenzo@palisadesparknj.us>
   Cc: Gina Kim <gkim@palisadesparknj.us>; Sophia Jang <sjang@palisadesparknj.us>; Mayor Kim
   <mayorkim@palisadesparknj.us>; Richard Malagiere <rm@malagierelaw.com>
   Subject: [EXTERNAL] Re: RICE Notice

   Received.


          On Oct 31, 2023, at 12:59 PM, Dave Lorenzo <dlorenzo@palisadesparknj.us>
          wrote:

          ﻿
          Ms. Kim / Mr Moench;

          Please be advised that I am in receipt of what ‘appears’ to be
          intended as a Rice notice clearly drafted by a non-lawyer and not
          proofread before delivery.

          Notwithstanding, I am hereby exercising my right to waive closed
          session as it relates to my employment and ask that any matter


                         EXHIBIT B TO THE VERIFIED COMPLAINT
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                    EXHIBIT B TO THE VERIFIED COMPLAINT

        related to my employment be discussed in open session.

        Be guided accordingly



        Dave Lorenzo
        BA


        From: Gina Kim <gkim@palisadesparknj.us>
        Sent: Tuesday, October 31, 2023 10:16 AM
        To: Davide Lorenzo Boro Admin <dlorenzo@palisadesparknj.us>
        Cc: Sophia Jang <sjang@palisadesparknj.us>; Mayor Kim
        <mayorkim@palisadesparknj.us>; Matthew Moench <MMoench@kingmoench.com>
        Subject: RICE Notice

        Dear Mr. Lorenzo,

        Attached please find a RICE Notice prepared by Mayor Kim.

        Kindly confirm receipt.

        Thank you.

        Sincerely,
        Gina S. Kim, RMC/CMC
        Borough Clerk
        275 Broad Ave
        Palisades Park, NJ 07650
        Office: (201) 585-4153
        Fax: (201) 585-4155
        https://www.mypalisadespark.com




                      EXHIBIT B TO THE VERIFIED COMPLAINT
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                    EXHIBIT C TO THE VERIFIED COMPLAINT



                                                                October 30, 2023

  VIA CERTIFIED & REGULAR MAIL and EMAIL
  David Lorenzo
  INSERT ADDRESS

                 RE:     Rice Notice
                         Thursday, November 2, 2023

  Dear Mr. Lorenzo:

  Please be advised that at the Borough’s special meeting, to be held on Thursday, November 2,
  2023, beginning at 1:00 p.m., the Governing Body may discuss a change in terms and conditions
  of your employment.

  Since this is a personnel matter, the Governing Body intends to discuss this matter during its
  executive session, which shall be closed to the public. Action, if any, will be taken in public. If
  there are any strictly personnel matters regarding your employment, notwithstanding litigation or
  pre-litigation items, you have the right to request, in writing, that the Governing Body conduct the
  discussion of these personnel items concerning your employment in public pursuant to the
  provisions of the Open Public Meetings Act (N.J.S.A. 10:4-6 et seq.), Rice v. Union County
  Regional High School Bd. Of Ed., 155 NJ Super 64 (App. Div. 1977); cert. den., 76 N.J. 238 (1978)
  and Kean Federation of Teachers v. Morell, 233 N.J. 566 (2018). If you decide to exercise this
  right, you must notify me, in writing, by returning a copy of this letter, by no later than 12:00 p.m.
  on Thursday, November 2, 2023. If you do not inform me of your election by the date and time
  noted herein, it will be assumed that you wish any discussion regarding the terms and conditions
  of your employment by the Governing Body to be held in executive session.

  If you have any questions, please feel free to contact me.

                                                                        Very truly yours,




                         EXHIBIT C TO THE VERIFIED COMPLAINT
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                    EXHIBIT D TO THE VERIFIED COMPLAINT




                    EXHIBIT D TO THE VERIFIED COMPLAINT
      BER-L-006632-23 01/04/2024 2:21:32 PM Pg 21 of 29 Trans ID: LCV202434712
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                    EXHIBIT D TO THE VERIFIED COMPLAINT




                    EXHIBIT D TO THE VERIFIED COMPLAINT
      BER-L-006632-23 01/04/2024 2:21:32 PM Pg 22 of 29 Trans ID: LCV202434712
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                    EXHIBIT D TO THE VERIFIED COMPLAINT




                    EXHIBIT D TO THE VERIFIED COMPLAINT
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The Star-Ledger, Newark                EXHIBIT E



Publication Name:
The Star-Ledger, Newark

Publication URL:
www.nj.com/starledger

Publication City and State:
Newark , NJ

Publication County:
Essex


Notice Popular Keyword Category:

Notice Keywords:
palisades park

Notice Authentication Number:
202401030908524711578
1678258130

Notice URL:

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       Notice Publish Date:
 Friday, December 29, 2023
Notice Content

The following notice is transmitted in accordance with the Open Public Meetings Act ("OPMA"), N.J.S.A. 10:4-6 et seq. PLEASE TAKE NOTICE
that the Palisades Park Mayor and Council will hold a Special Meeting on Sunday, December 31, 2023 at 4:00 P.M. at Borough Hall, 275 Broad
Avenue, Palisades Park, NJ 07650. The agenda insofar as it is known at this time is consideration of the following: EXECUTIVE SESSION:
Personnel N.J.S.A. 10:4-12(b)(8) OFF CONSENT AGENDA: Authorization to place employee on leave Appointment of Police Director
Appointment of Special Legal Counsel PLEASE BE ADVISED OFFICIAL ACTION MAY BE TAKEN By Order of: Mayor and Council Gina S. Kim,
RMC, CMC Borough Clerk 12/29/23 $34.40

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The Record, Hackensack                EXHIBIT E




Publication Name:
The Record, Hackensack

Publication URL:

Publication City and State:
Hackensack , NJ

Publication County:
Bergen


Notice Popular Keyword Category:

Notice Keywords:
palisades park

Notice Authentication Number:
202401030912227876726
1678258130

Notice URL:

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       Notice Publish Date:
 Friday, December 29, 2023
Notice Content

NOTICE OF SPECIAL MEETING OF THE MAYOR AND COUNCIL              The following notice is transmitted in accordance with the Open Public
Meetings Act (“OPMA”), N.J.S.A. 10:4-6 et seq. PLEASE TAKE NOTICE that the Palisades Park Mayor and Council will hold a Special Meeting
on Sunday, December 31, 2023 at 4:00 P.M. at Borough Hall, 275 Broad Avenue, Palisades Park, NJ 07650. The agenda insofar as it is
known at this time is consideration of the following:   EXECUTIVE SESSION: Personnel – N.J.S.A. 10:4-12(b)(8)     OFF CONSENT AGENDA:
Authorization to place employee on leave Appointment of Police Director Appointment of Special Legal Counsel     PLEASE BE ADVISED
OFFICIAL ACTION MAY BE TAKEN        By Order of: Mayor and Council Gina S. Kim, RMC, CMC Borough Clerk The Record/Herald News:12/29
$18.04

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                                 EXHIBIT F




                                    EXHIBIT F
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                                 EXHIBIT F




                                    EXHIBIT F
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                                 EXHIBIT G




                                     EXHIBIT G
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                                 EXHIBIT H

    From:           Giancarlo Ghione
    To:             "gkim@palisadesparknj.us"
    Cc:             Richard Malagiere
    Subject:        OPRA
    Date:           Wednesday, January 3, 2024 11:47:00 AM


   Please accept this email as an OPRA request. The documents sought are:

       1. Public Notice, including certification of publication, of the December 31, 2023, council
          meeting
       2. Agenda for the December 31, 2023, council meeting
       3. Meeting minutes for the December 31, 2023, council meeting
       4. Closed session meeting minutes of the December 31, 2023, council meeting
       5. Resolutions passed at the December 31, 2023, council meeting
       6. Transcript of the December 31, 2023, council meeting
       7. Audio file of the December 31, 2023, council meeting




                                    Giancarlo Ghione, Esq.
                              The Law Offices of Richard Malagiere
                                   A Professional Corporation
                                 250 Moonachie Road, 3rd Floor
                                 Moonachie, New Jersey 07074
                                   Direct Dial: 201-509-4165
                                  Office Phone: 201-440-0675
                                   Office Fax: 201-440-1843
                                  gghione@malagierelaw.com
                                        http://www.malagierelaw.com




                                                   EXHIBIT H
